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    7
                             UNITED STATES DISTRICT COURT
    8
                            CENTRAL DISTRICT OF CALIFORNIA
    9

   10   TRINITY INFO MEDIA, LLC,                  Case No. 2:21-CV-01360-JWH-MRW
   11                   Plaintiff,                DEFENDANT COVALENT, INC.’S
                                                  REPLY IN SUPPORT OF MOTION
   12          v.                                 TO DISMISS FOR FAILURE TO
                                                  STATE A CLAIM
   13   COVALENT, INC.,
                                                  Judge: Hon. John W. Holcomb
   14                      Defendant.             Hearing Date: June 11, 2021
                                                  Time: 9:00 a.m.
   15                                             Courtroom: 2
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                                                            DEFENDANT’S REPLY IN SUPPORT OF
                                                              RULE 12(B)(6) MOTION TO DISMISS
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    1         Plaintiff Trinity seeks to bamboozle the Court with technological-sounding
    2   terms it pretends are found in the Asserted Claims. They are not there. None of the
    3   Asserted Claims recite real-time analysis of matches, synchronization of servers,
    4   using hash functions as unique identifications, or an “in-memory, two-dimensional
    5   array [that] provides for linear speed across multiple match servers and an
    6   immediate comparison” of matches. [Doc. 32 at 14] These are all elements that
    7   Trinity has made up or improperly imported from the Patent specifications. Indeed,
    8   the claimed matchmaking process can be performed using one of the “antiquated
    9   processors” Trinity decries in its brief—but no matter, the claims of the patents-in-
   10   suit do not require any specific hardware, software, or programming. They are
   11   directed to the steps of a matchmaking process.
   12         Trinity’s infringement allegations show the Asserted Claims’ overbreadth.
   13   Trinity has not alleged Covalent’s Kippo dating app infringes by using a new
   14   technological process that improves the functionality of computers. No, Trinity
   15   alleges that Kippo infringes by asking a user their gender and the gender of people
   16   the user would like to connect with, matching the user with other users who gave
   17   corresponding answers, and displaying profiles of potential matches. [Doc. 28 ¶¶
   18   46-53; 59-67] In other words, the entire claimed process is matching people who
   19   gave corresponding answers to a question. That is an abstract idea that common
   20   sense tells us humans have performed for eons. As one example, the 1960s’ TV
   21   show The Dating Game used “progressive polling” (multiple questions) to match
   22   users (contestants) based on corresponding answers. See, e.g., Youtube.com, “Steve
   23   Martin - Dating Game 1968” (https://www.youtube.com/watch?v=9ITkTe5gutM)
   24   (last visited May 25, 2021). The dependent claims merely cover other permutations
   25   of this abstract idea, like matching by gender or by asking two questions instead of
   26   one. A prior case invalidating similar matchmaking patents on a motion to dismiss
   27   offers this Court a template to follow. See Jedi Techs., Inc. v. Spark Networks, Inc.,
   28   No. CV 1:16-1055-GMS, 2017 WL 3315279 (D. Del. Aug. 3, 2017). And a long
                                                                 DEFENDANT’S REPLY IN SUPPORT OF
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    1   line of Federal Circuit law supports granting Covalent’s motion to dismiss.
    2         A.     New Federal Circuit Opinions Support Dismissal
    3         Contrary to Trinity’s assertions, invalidating patent claims under § 101 at the
    4   motion to dismiss stage is alive and well in the Federal Circuit. Just weeks ago, the
    5   Federal Circuit reversed a district court’s denial of a motion to dismiss on § 101
    6   grounds, finding invalid claims directed to targeting a television audience across
    7   multiple screens, which recited use of “(1) a networked device (e.g., a smart TV);
    8   (2) a client device (e.g., a mobile device); and (3) a relevancy matching server.”
    9   Free Stream Media Corp. v. Alphonso Inc., No. 2019-1506, at *3 (Fed. Cir. May
   10   11, 2021). Those claims included far more technological structure than Trinity’s
   11   claims. See id. at *4-5. Still, the Federal Circuit found “nothing in [the claims]
   12   demonstrates an improvement to computer functionality,” and there was no
   13   inventive concept because the claims’ inclusion of technology such as mobile
   14   devices and networked servers “simply recite the use of generic features, as well as
   15   routine functions, to implement the underlying idea.” Id. at *14-19; see also
   16   Dropbox, Inc. v. Synchronoss Techs., No. 2019-1765, at *5-16 (Fed. Cir. June 19,
   17   2020) (affirming grant of motion to dismiss network security and file
   18   synchronization patents under § 101, including claims reciting “a file upload
   19   connection server,” “interactive connection server,” and “synchronizer”).
   20         The Dropbox opinion also supports Covalent’s position that the Court should
   21   disregard Trinity’s conclusory statements about purported advances made by its
   22   Patents. See id. at *17 (finding “Dropbox’s complaint asserts only conclusory
   23   allegations insufficient to survive a motion to dismiss.”). The Federal Circuit noted
   24   there that “any allegation about inventiveness, wholly divorced from the claims or
   25   the specification does not defeat a motion to dismiss; only plausible and specific
   26   factual allegations that aspects of the claims are inventive are sufficient.” Id.
   27   (quoting Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317 (Fed. Cir. 2019)).
   28   Like Trinity’s First Amended Complaint (“FAC”), Dropbox’s “allegations claim
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    1   that each of the patents solves given technological problems, but never provide
    2   more support than a conclusory statement that ‘the inventions described and
    3   claimed solved these problems,’ improved the art, ‘represented a significant
    4   advance over existing approaches, and were not well-known, routine, or
    5   conventional in the field’ at the time of patenting.” Dropbox, No. 2019-1765, at
    6   *17. The Federal Circuit held “[t]hese pleadings provide no more than a series of
    7   legal conclusions about the § 101 analysis” and the district court was “not bound to
    8   accept as true a legal conclusion couched as a factual allegation.” Id. Here, Trinity
    9   has not offered any “plausible and specific allegations” about aspects of the claims
   10   that are inventive.
   11         B.     Dismissal Should Be Granted Without Claim Construction
   12         The Federal Circuit recently rejected an argument identical to Trinity’s that
   13   claim construction was necessary before deciding § 101 eligibility. The court found
   14   “[t]he main problem with this argument is that [plaintiff] has not explained how it
   15   might benefit from any particular term’s construction under an Alice § 101
   16   analysis.” Simio, LLC v. Flexsim Software Prods., Inc., No. 2020-1171, at *19-20
   17   (Fed. Cir. Dec. 29, 2020). Rather, like Trinity, the plaintiff there “limits its specific
   18   claim-construction arguments to showing that claim 1 is to a statutorily eligible
   19   ‘machine’” and there was “no error in the district court’s determining ineligibility
   20   without first conducting claim construction.” Id.; see also Tenaha Licensing LLC v.
   21   Ascom (US) Inc., No.19-568-LPS-SRP, at *19 n.6 (D. Del. Jan. 2, 2020) (claim
   22   construction unnecessary before granting motion to dismiss under § 101 and noting
   23   that “in similar situations where a party failed to explain how claim construction
   24   could impact the Section 101 analysis, courts have proceeded without claim
   25   construction” (listing cases)); Jedi Techs., No. CV 1:16-1055-GMS, at *6 (same).
   26         Here, Trinity has not identified any terms for which claim construction might
   27   impact the § 101 analysis or explained such impact. Rather, Trinity’s argument is
   28   broadly that its claims cover patent-eligible technology, which is not a reason to
                                                                   DEFENDANT’S REPLY IN SUPPORT OF
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    1   require claim construction. Simio, No. 2020-1171, at *19-20; see also Genetic
    2   Techs. Ltd. v. Merial LLC, 818 F.3d 1369, 1374 (Fed. Cir. 2016) (“evaluation of a
    3   patent claim’s subject matter eligibility under § 101 can proceed even before a
    4   formal claim construction.”). Waiting for claim construction is unnecessary and
    5   would merely to waste the parties’ and Court’s time and resources.
    6         C.     Trinity Cannot Save Its Broad, Abstract Claims By Importing
                     Unclaimed Language From The Specifications
    7

    8         Trinity admits that “it is the claims that define the invention, not the
    9   specification.” [Doc. 32 at 22 n.10 (citing Markman v. Westview Inst., Inc., 52 F.3d
   10   967, 979-81 (Fed. Cir. 1995)] But Trinity’s arguments rely on importing details
   11   from the Patents’ specifications into the claims. That is contrary to Federal Circuit
   12   law, and accepting Trinity’s arguments would be clear error. See ChargePoint, Inc.
   13   v. SemaConnect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019) ChargePoint explained:
   14         The breadth of the claim language here illustrates why any reliance on
              the specification in the § 101 analysis must always yield to the claim
   15         language. Ultimately, “[t]he § 101 inquiry must focus on the language
              of the Asserted Claims themselves,” and the specification cannot be
   16         used to import details from the specification if those details are not
              claimed. Even a specification full of technical details about a
   17         physical invention may nonetheless conclude with claims that claim
              nothing more than the broad law or abstract idea underlying the
   18         claims, thus preempting all use of that law or idea.
   19   Id. at 766-69 (emphasis added, citation omitted); see also Synopsys, Inc. v. Mentor
   20   Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir. 2016) (“we have held that complex
   21   details from the specification cannot save a claim directed to an abstract idea that
   22   recites generic computer parts”); Accenture Global Servs. v. Guidewire Software,
   23   Inc., 728 F.3d 1336, 1345 (Fed. Cir. 2013) (“[T]he complexity of the implementing
   24   software or the level of detail in the specification does not transform a claim
   25   reciting only an abstract concept into a patent-eligible system or method.”).
   26         In Trinity’s telling, “claim 1 recites steps in a non-traditional system to
   27   rapidly connect multiple users using progressive polling that compare answers in
   28   real time based on their unique identification (ID).” [Doc. 32 at 21] But a look at
                                                                 DEFENDANT’S REPLY IN SUPPORT OF
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    1   Claim 1 shows Trinity’s deception. Claim 1 does not recite that a match comparison
    2   must occur in “real-time” or give “nearly instant results.” [See Doc. 28, Ex. 1 at
    3   12:15-34] There is nothing requiring “progressive polling” either; the claim only
    4   recites “providing the user a first polling question” and conducting a comparison
    5   based on that one question. [Id. at 12:23-31] There is no requirement for how to
    6   create a “unique identification” for a question, whether as a “hash function” as
    7   Trinity argues in its brief or any other fashion. [Id. at 12:24-25] Indeed the “unique
    8   identification” for a question is not defined in the specification; it could merely
    9   consist of naming a first question “Question 1” and so on. [Id. at 6:23-24]
   10         The technology described in the Patents’ specifications is expressly non-
   11   limiting, and the claimed matchmaking process was intended to be operated on any
   12   combination of generic, general-purpose hardware and software. [See Doc. 28, Ex.
   13   1 at 9:56-59, 11:21-59; Ex. 2 at 5:41-63, 9:37-10:33, 11:20-52, 12:33-34, 13:32-55]
   14   Trinity’s analysis and claim chart in its opposition blatantly attempt to import
   15   details from the specifications into the claims in violation of Federal Circuit
   16   precedent. The language cited by Trinity simply does not appear in the claims, and
   17   the Court should therefore disregard Trinity’s analysis on both steps of the Alice
   18   test. See Ericsson Inc. v. TCL Commc’n Tech. Holdings, 955 F.3d 1317, 1330 (Fed.
   19   Cir. 2020) (“Because the architecture identified by Ericsson as inventive does not
   20   appear in claims 1 or 5 of the ’510 patent, we conclude at step two that claims 1 and
   21   5 do not provide a sufficient inventive concept to render them patent eligible.”).
   22         The Asserted Claims are dramatically overbroad—as shown by Trinity’s
   23   allegations that the Kippo app infringes by performing a basic gender-based
   24   matching process. Trinity’s Patents preempt any process of using a computer to
   25   match users based on their answers to a question.1 That cannot be deemed patent
   26   1
         Indeed, Trinity recently sued three other dating app companies in this District for
        infringing one or both Patents based on offering apps that match users by gender or
   27   age. See Trinity Info Media, LLC v. Hornet Networks, Inc., No. 2:21-cv-1351-JAK
        (Doc. 22 is First Amended Complaint asserting both Patents based on dating app
   28   that matches users by age preference, see ¶¶ 47-65); Trinity Info Media, LLC v.
                                                                  DEFENDANT’S REPLY IN SUPPORT OF
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    1   eligible under Alice. See ChargePoint, 920 F.3d at 769 (“preemption may signal
    2   patent ineligible subject matter” at both steps of Alice test).
    3         D.     Trinity’s Patent Claims are Directed to Matchmaking
    4         The Federal Circuit recently noted that “[n]ot infrequently, patentees . . .
    5   latch on to this language from Alice and claim that their claims do ‘improve the
    6   functioning of the computer itself.’” Customedia Techs., LLC v. Dish Network
    7   Corp., 951 F.3d 1359, 1362 (Fed. Cir. 2020). That is exactly what Trinity is doing
    8   here. But the Asserted Claims’ generic components do not impart patentability.
    9                1.     Claiming computers does not create patent eligibility
   10         Trinity argues that Covalent has improperly stripped away claim limitations
   11   to create the impression Claim 1 of the ’321 Patent is abstract. But Covalent has
   12   simply eliminated the standard computer components recited in Claim 1 to show
   13   the focus of the claim—a computer-automated matchmaking process. The Federal
   14   Circuit has found invalid under § 101 many claims reciting computer componentry
   15   such as “processors” and “computer program code.” See Free Stream, No. 2019-
   16   1506, at *14-19; Voter Verified, Inc. v. Election Sys. & Software LLC, 887 F.3d
   17   1376, 1386 (Fed. Cir. 2018) (“The case law has consistently held that these
   18   standard components are not sufficient to transform abstract claims into patent-
   19   eligible subject matter,” listing cases); Elec. Comm. Techs. v. ShoppersChoice.com,
   20   LLC, 958 F.3d 1178, 1182-83 (Fed. Cir. 2020) (affirming invalidity of claims
   21   reciting transceivers, processors, memories, and computer program code);
   22   Customedia, 951 F.3d 1359, 1364-65 (affirming invalidity of claims reciting a “data
   23   delivery system” that included a “remote account transaction server” and a
   24   “programmable local receiver unit”); SAP Am., Inc. v. Investpic, LLC, 898 F.3d
   25   Raya App, Inc., No. 2:21-cv-1361-GW-JEM (Doc. 1 is Complaint asserting ’321
        Patent based on dating app matching users by preferred gender, see ¶¶ 33-39);
   26   Trinity Info Media, LLC v. The League App, Inc., No. 2:21-cv-1362-JAK-MRW
        (Doc. 1 is Complaint asserting ’321 Patent based on dating app matching users by
   27   preferred gender, see ¶¶ 33-41). Covalent requests that the Court take judicial
        notice of these filings. See Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d
   28   741, 746 n.6 (9th Cir. 2006) (allowing judicial notice of filings in related cases).
                                                                  DEFENDANT’S REPLY IN SUPPORT OF
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    1   1161, 1167-68 (Fed. Cir. 2018) (affirming dismissal of claims reciting system
    2   including a “client database” and “a plurality of processors collectively arranged to
    3   perform a parallel processing computation”). Trinity’s Patent claims are therefore
    4   not saved by reciting componentry such as “processors,” “memory,” and “servers.”
    5   That is exactly the sort of language that is insufficient to transform the Patents’
    6   abstract claims into patent-eligible subject matter.
    7         Moreover, to the extent a dependent claim recites some more specific
    8   componentry, such as Claim 8 of the ’321 Patent’s limitation concerning plural
    9   match servers, the Federal Circuit has “consistently held . . . that claims are not
   10   saved from abstraction merely because they recite components more specific than a
   11   generic computer.” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1286-87
   12   (Fed. Cir. 2018) (listing cases and holding that the “recited database structure
   13   similarly provides a generic environment in which the claimed method is
   14   performed.”); see also SAP Am., 898 F.3d at 1167-68 (process performed on
   15   “plurality of processors” performing “parallel processing computation”). The
   16   servers and processors claimed in Trinity’s Patents merely provide the environment
   17   in which the abstract matchmaking process is performed. The focus of the Asserted
   18   Claims is that process, not any physical improvement of computer functionality.
   19                2.     Mobile phone is merely an environment for abstract process
   20         Trinity’s argument that the claimed process is patentable because it can be
   21   performed on a mobile device fares no better. In Intellectual Ventures I LLC v. Erie
   22   Indem. Co., 850 F.3d 1315 (Fed. Cir. 2017), the court affirmed the invalidity of
   23   claims that recited steps performed on a network server and a mobile device. Id. at
   24   1330. That court noted “[a]n abstract idea does not become nonabstract by limiting
   25   the invention to a particular field of use or technological environment, such as the
   26   Internet.” Id. And “the mobile interface here does little more than provide a generic
   27   technological environment to allow users to access information.” Id.; see also; TLI
   28   Comms. LLC v. AV Auto., L.L.C., 823 F.3d 607, 613 (Fed. Cir. 2016) (“Lastly,
                                                                  DEFENDANT’S REPLY IN SUPPORT OF
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    1   although the claims limit the abstract idea to a particular environment—a mobile
    2   telephone system—that does not make the claims any less abstract for the step 1
    3   analysis.”); Cellspin, 927 F.3d at 1317 (finding invalid claims reciting steps
    4   performed on a mobile device). A mobile device is nothing more than a small
    5   computer. Patentability cannot created merely by performing claim steps on a small
    6   device rather than a large one. Trinity’s assertion that its Patents are not abstract
    7   because steps can be performed on a mobile device should be rejected.
    8                3.     Computerizing a human process does not create eligibility
    9         Trinity’s last-ditch effort to avoid an abstractness finding on step one is to
   10   argue that the claimed matchmaking process cannot be performed by humans
   11   because it recites computers. [Doc. 32 at 17 (arguing claims are patent-eligible
   12   because it “involves nanosecond comparisons” and a “human cannot mentally
   13   perform polling operations that use selection criteria involving servers, storage,
   14   identifiers and/or thresholds.”)] However, the Federal Circuit has repeatedly
   15   rejected the same argument, holding that “relying on a computer to perform routine
   16   tasks more quickly or more accurately is insufficient to render a claim patent
   17   eligible.” OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1363 (Fed. Cir.
   18   2015); Customedia, 951 F.3d at 1364 (listing cases holding the same); Voter
   19   Verified, 887 F.3d at 1386 (holding claims for human cognitive actions automated
   20   using general purpose computer components were directed to abstract idea). That
   21   Trinity’s claimed process might perform the steps faster than a human is irrelevant,
   22   for “it is not enough . . . to merely improve a fundamental practice or abstract
   23   process by invoking a computer merely as a tool.” Customedia, 951 F.3d at 1364.
   24         Instead, the Federal Circuit has held that, regardless of recited computer
   25   componentry, “claims focused on ‘collecting information, analyzing it, and
   26   displaying certain results of the collection and analysis’ are directed to an abstract
   27   idea.” SAP Am., 898 F.3d at 1167. That is exactly what Trinity’s Patents claim—
   28   collecting a user’s answers, comparing them with answers of others, and displaying
                                                                  DEFENDANT’S REPLY IN SUPPORT OF
                                                                 RULE 12(B)(6) MOTION TO DISMISS FAC
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    1   potential matches. The Asserted Claims are not “directed to the creation of
    2   something physical,” such as a claimed improvement “to how the physical display
    3   operated (to produce better quality images) . . . .” Id. (citing McRO, Inc. v. Bandai
    4   Namco Games America Inc., 837 F.3d 1299 (Fed. Cir. 2016). Rather, the Asserted
    5   Claims focus on the abstract idea of matchmaking based on question answers. And
    6   they preempt the entire field, as shown by the breadth of the claim language and
    7   Trinity’s infringement allegations against Covalent. The Asserted Claims are thus
    8   directed towards an abstract idea under step one of the Alice test.
    9         E.     Trinity Cannot Identify An Inventive Concept in the Claims
   10         On Alice’s step two, Trinity argues its Asserted Claims contain inventive
   11   concepts in the following: “(1) a progressive poll that matches a user with other
   12   users in real time; (2) the use of multiple processors, match servers, unique
   13   identifications and/or a match aggregator; (3) carrying out one or more matching
   14   operations on a handheld device; or (4) a computer product in the form of a
   15   matching app . . . .” [Doc. 32 at 20] But again Trinity ignores the claim language
   16   and Federal Circuit law.
   17         As explained, none of the Asserted Claims recite conducting the matching
   18   process in real-time. That simply does not exist in the claims and thus cannot
   19   constitute an “inventive concept.” See Intellectual Ventures I LLC v. Capital One
   20   Bank (USA), 792 F.3d 1363, 1370 (Fed. Cir. 2015) (rejecting patentee’s argument
   21   that an inventive concept was supplied by “the claimed invention in ‘real time’
   22   customiz[ing] the web page” because “[t]he claims are not so limited.”); see also
   23   RecogniCorp LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017) (“To save
   24   a patent at step two, an inventive concept must be evident in the claims.”). Even if
   25   the claims did contain a real-time limitation, that would not be an inventive concept
   26   because using computers to make processes faster is well-known. See Intellectual
   27   Ventures, 792 F.3d at 1367 (“Nor, in addressing the second step of Alice, does
   28   claiming the improved speed or efficiency inherent with applying the abstract idea
                                                                 DEFENDANT’S REPLY IN SUPPORT OF
                                                                RULE 12(B)(6) MOTION TO DISMISS FAC
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    1   on a computer provide a sufficient inventive concept.”); Whitserve LLC v. Donuts
    2   Inc., 2019-2240, at *9 (Fed. Cir. Apr. 10, 2020) (“The description of already-
    3   available computers that are not themselves plausibly asserted to be an advance . . .
    4   amounts to a recitation of what is well-understood, routine, and conventional.”).
    5         Trinity’s second point about “the use of multiple processors” seeks to base an
    6   inventive concept in the idea of running the process on two computers, instead of
    7   one. The Federal Circuit in SAP America found claims reciting steps performed on
    8   a “plurality of processers” operating in parallel were invalid under § 101 and noted
    9   “this court has ruled many times that such invocations of computers and networks
   10   that are not even arguably inventive are insufficient to pass the test of an inventive
   11   concept in the application of an abstract idea.” 898 F.3d at 1170. If merely dividing
   12   a process onto multiple processors could be deemed an inventive concept, it would
   13   turn patent eligibility into a draftsman’s art “thereby eviscerating the rule that laws
   14   of nature, natural phenomena, and abstract ideas are not patentable.” Alice Corp. v.
   15   CLS Bank Int’l, 573 U.S. 208, 2016 (2014).
   16         Trinity’s third argument that running the process on a mobile device is an
   17   inventive concept fares no better. The ’321 Patent does not recite any claims that
   18   are limited to a mobile device, so that cannot constitute an inventive concept for
   19   that Patent. See Ericsson, 955 F.3d at 1330 (where the concept was not present in
   20   the claims, they “do not provide a sufficient inventive concept to render them patent
   21   eligible”). Moreover, the ’685 Patent specification states that mobile apps were
   22   well-known in the prior art. [Doc. 28, Ex. 2 at 1:46-60] The concept of operating
   23   software on a mobile phone thus cannot possibly be deemed inventive, as the
   24   specification admits. See Aatrix Software, Inc. v. Green Shades Software, Inc., 890
   25   F.3d 1354, 1358 (Fed. Cir. 2018) (“a court need not accept as true allegations that
   26   contradict . . . the claims and the patent specification.”). Further, the Federal Circuit
   27   has held a mobile device on which claim steps are performed “simply provides the
   28   environment in which the abstract idea . . . is carried out.” TLI Comms., 823 F.3d at
                                                                  DEFENDANT’S REPLY IN SUPPORT OF
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    1   614. Thus, claims involving a mobile device and a server “fall squarely within our
    2   precedent finding generic computer components insufficient to add an inventive
    3   concept to an otherwise abstract idea.” Id.; see also Free Stream., No. 2019-1506,
    4   at *18 (claims for security processes on mobile devices “simply recite the use of
    5   generic features, as well as routine functions, to implement the underlying idea.”).
    6         The same logic and law applies to Trinity’s argument that its claims are
    7   inventive because they can be performed on an “app.” The ’685 Patent specification
    8   states “mobile apps” were well-known in the prior art. [Doc. 28, Ex. 2 at 1:27-55]
    9   Further, the term “app” is defined as an “abbreviation for application: a computer
   10   program that is designed for a particular purpose”). See Cambridge English
   11   Dictionary, “app,” https://dictionary.cambridge.org/us/dictionary/english/app (last
   12   visited May 25, 2021). Thus, based on the specification of both Patents—and the
   13   obvious fact that computer programs predated the Patents—Trinity cannot plausibly
   14   allege that the use of an app was an inventive concept. There is simply no inventive
   15   concept contained in any of the Asserted Claims under step two of the Alice test.
   16         F.     Swiping Limitation Cannot Save the ’685 Patent
   17         Finally, Trinity’s argument that the “swiping” limitation saves the ’685
   18   Patent is unsupportable for two reasons. First, Trinity’s only relevant allegation in
   19   the FAC about swiping is: “The present invention also includes an advance over the
   20   prior art and an improvement over a general-purpose computer by enabling a user
   21   to review the matches with other users through the act of swiping.” [Doc. 28 ¶ 30]
   22   But the ’685 Patent specification does not contain a word about swiping or gesture-
   23   based actions on a mobile phone. Trinity’s statement in the FAC is thus the sort
   24   “allegation about inventiveness, wholly divorced from the claims or the
   25   specification” that cannot defeat a motion to dismiss. Dropbox, No. 2019-1765, at
   26   *17. That conclusory statement is not a “plausible and specific factual allegation”
   27   that swiping is inventive, and thus the Court is not bound to accept it as true. See id.
   28         Second, Trinity wrongly assumes a 2010 priority date for the swiping
                                                                  DEFENDANT’S REPLY IN SUPPORT OF
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    1   limitations. The ’685 Patent’s application was filed July 2, 2018, as a continuation-
    2   in-part (“CIP”) from the ’321 Patent’s application. [Dkt. 28, Ex. 2 at 1] A CIP
    3   contains “a portion or all of the disclosure of an earlier application together with
    4   added matter not present in that earlier application.” Poweroasis v. T-Mobile, 522
    5   F.3d 1299, 1304 n.3 (Fed. Cir. 2008). “It is elementary patent law that a patent
    6   application is entitled to the benefit of the filing date of an earlier filed application
    7   only if the disclosure of the earlier application provides support for the claims of
    8   the later application . . . .” Id. at 1306. “When neither the PTO nor the Board has
    9   previously considered priority, there is simply no reason to presume that claims in
   10   a CIP application are entitled to the effective filing date of an earlier filed
   11   application.” Id. at 1305 (emphasis added). Trinity assumes that 2010, rather than
   12   July 2018, is the priority date of the swiping limitation. That assumption is
   13   unfounded and not supported by plausible, specific allegations or evidence from
   14   Trinity. By July 2018, swiping in dating apps was well-known. [See Declaration of
   15   Thomas Dietrich filed herewith, Ex. A]2
   16         Swiping between matches is merely a way for users to sort data. Trinity has
   17   not plausibly alleged that appending swiping to the abstract matchmaking steps
   18   improves the functioning of the computer itself. Nor can swiping supply an
   19   inventive concept, as it is a conventional step specified at a high level of generality
   20   appended to the process. See OIP Techs., 788 F.3d at 1364. And Trinity has not
   21   offered a “plausible and specific factual allegation” that its swiping limitation is
   22   inventive. Dropbox, No. 2019-1765, at *17. The Court should thus find the ’685
   23   Patent’s Asserted Claims are invalid for the same reason as the ’321 Patent. Trinity
   24   cannot own the human process of matching people by their answers to a question.
   25   2
          Covalent offers this exhibit in response to Trinity’s arguments in its opposition
   26   that the swiping limitation in the ’685 Patent is an inventive concept. [See Doc. 32
        at 1, 3, 7, 15, 20]. Covalent requests that the Court take judicial notice of the fact
   27   that these articles and filing were publicly available before the July 2018 priority
        date. See Heliotrope Gen., Inc. v. Ford Motor Co., 189 F.3d 971, 981 (9th Cir.
   28   1999); In re Am. Funds Sec. Lit., 556 F. Supp. 2d 1100, 1105 (C.D. Cal. 2008).
                                                                   DEFENDANT’S REPLY IN SUPPORT OF
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    1
         DATED: May 27, 2021                  Respectfully submitted,
    2

    3                                         THE MCARTHUR LAW FIRM, PC
    4                                         By: /s/ Thomas Dietrich
                                                  Stephen McArthur
    5                                             Thomas Dietrich
    6                                                Attorneys for Defendant
                                                     Covalent, Inc.
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    1                              CERTIFICATE OF SERVICE
    2   Case Name: Trinity Info Media, LLC v. Covalent, Inc.
        Case No.: 2:21-cv-01360-JWH-MRW
    3
        IT IS HEREBY CERTIFIED THAT:
    4
               I, the undersigned, declare under penalty of perjury that I am a citizen of the
    5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
        Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
    6
                 I have caused service of the following documents, described as:
    7
          DEFENDANT COVALENT, INC.’S REPLY IN SUPPORT OF RULE
    8     12(B)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
    9   on the following parties by electronically filing the foregoing on May 27, 2021,
        with the Clerk of the District Court using its ECF System, which electronically
   10   notifies them.
   11   Ashley D. Posner                                Attorneys for Defendant
        Posner Law Corporation
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   13   Tel. (310) 475-8520
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        Gregory L. Hillyer
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        Tel. (202) 686-2884
   17   ghillyer@hillyerlegal.com
   18   I declare under penalty of perjury under the laws of the United States of America
        that the foregoing is true and correct.
   19

   20
         Date:     5/27/2021                By: /s/ Thomas Dietrich
   21                                           Thomas Dietrich
   22

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                                                                 DEFENDANT’S REPLY IN SUPPORT OF
                                                                RULE 12(B)(6) MOTION TO DISMISS FAC
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